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 6

 7                         IN THE UNITED STATES DISTRICT COURT FOR THE
 8                               EASTERN DISTRICT OF CALIFORNIA
 9
     UNITED STATES OF AMERICA,                        )   Case No.: 1:15-CR-00104-AWI-SKO
10                                                    )
              Plaintiff,                              )
11                                                    )   REQUEST FOR ORDER
     vs.                                              )
12                                                    )   AUTHORIZING TRAVEL TO OREGON
                                                      )   PRIOR TO REPORTING TO BUREAU
13                                                    )   OF PRISONS; AND ORDER
     IRAN DENNIS FOSTER,
                                                      )
14                                                    )
               Defendant.
                                                      )
15                                                    )
                                                      )
16
            Iran Dennis Foster, by and through his attorney of record, Mark A. Broughton,
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18   respectfully submits this request for an order authorizing his travel to Redding, California and

19   then to Medford, Oregon prior to voluntarily surrendering. Mr. Foster is set to turn himself in to
20
     the Bureau of Prisons in Los Angeles, California on January 8, 2018.
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            Mr. Foster makes this request so he may visit close friends one final time before he
22
     voluntarily surrenders. Mr. Foster requests to travel for a total of seven days from the day the
23

24
     request is approved. He intends to return to Fresno, California before December 25, 2017.

25          Melanie Alsworth, Assistant United States Attorney, represented to Mr. Broughton on
26   that she does not have any objection to Mr. Foster traveling before he is set to surrender himself
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     on January 8, 2018.
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 1          Mr. Foster intends to drive his White Chevrolet Silverado, bearing license plate number
 2
     39014P1. The vehicle is registered to Iran Dennis Foster. Mr. Foster plans to first stop in
 3
     Redding, California and stay with Antonio Robinson. After his visit with Mr. Robinson, Mr.
 4
     Foster would like to travel to Medford, Oregon and stay with Melissa Huston. Mr. Foster has
 5

 6   known both Mr. Robinson and Ms. Huston for over 20 years.

 7          Respectfully Submitted.
 8

 9
     DATED: December 18, 2017                             /s/Mark A. Broughton
                                                          MARK A. BROUGHTON
10                                                        Attorney for IRAN DENNIS FOSTER

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12
                                                  ORDER
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14   IT IS SO ORDERED.
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     Dated: December 20, 2017
16                                               SENIOR DISTRICT JUDGE
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